                                                United States Bankruptcy Court
                                                Middle District of Tennessee
 In re:                                                                                                     Case No. 11-03383
 CORY GREGORY PEER                                                                                          Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0650-3                  User: kmw2408                      Page 1 of 1                          Date Rcvd: Jul 14, 2011
                                       Form ID: b18i                      Total Noticed: 24


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 16, 2011.
 db            +CORY GREGORY PEER,    2846 WINDY WAY,    Thompsons Station, TN 37179-9263
 4312158       +AUTO CREDIT OF NASHVILLE,    C/O HSN FULFILLMENT,     2300 HILLSBORO RD ST 305,
                 Nashville TN 37212-4927
 4312160       +BLOCKBUSTER,   C/O COLLECTION PROTECTION ASSOC. LP,      13355 NOEL ROAD,    Dallas TX 75240-6602
 4312159       +BLOCKBUSTER,   C/O CREDIT PROTECTION ASSOC,      13355 NOEL RD STE 2100,    Dallas TX 75240-6837
 4312163       +DEPT OF EDUCATION/NELNET,    121 S 13TH ST,     Lincoln NE 68508-1904
 4312164       +EMERGITRUST,   C/O FOX COLLECTION CENTER,      PO BOX 528,   Goodlettsville TN 37070-0528
 4312165       +F A S T INC,   8300 KINGSTON PIKE,     Knoxville TN 37919-5449
 4312166       +FIRST TENNESSEE,    PO BOX 84,    Memphis TN 38101-0084
 4312167       +HSN FULFILLMENT LLC,    2300 HILLSBORO ROAD SUITE 305,     Nashville TN 37212-4927
 4312169       +IMAGINE MASTERCARD,    C/O JEFFERSON CAPITAL SYSTEM,     16 MCLELAND RD,    Saint Cloud MN 56303-2198
 4312170       +KROGER,   C/O FAST,    8300 KINGSTON PK,    37919-5449
 4312171       +RURAL/METRO OF TENNESSEE L.P,     P.O. BOX 911203,    Dallas TX 75391-1203
 4312172       +SPRINT,   C/O ERS SOLUTIONS INC,     10750 HAMMERLY BLVD # 200,    Houston TX 77043-2317
 4312174       +UNIFUND,   P.O. BOX 17235,     Memphis TN 38187-0235
 4312175       +UNIVERSITY OF PHOENIX,    1001 PINNACLE POINT DR SUITE 200,     Columbia SC 29223-5727
 4312173     ++US BANK,    PO BOX 5229,    CINCINNATI OH 45201-5229
               (address filed with court: U.S BANK,      HICKORY HOLLOW, TN OFFICE,     P.O. BOX 790179,
                 Saint Louis MO 63179)
 4312178       +WILLIAMSON MEDICAL CENTER,     P.O. BOX 12101,    Trenton NJ 08650-2101
 4312180       +WILLIAMSON PROFESSIONAL PRACTI,     PO BOX 680487,    Franklin TN 37068-0487

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 4312162      +EDI: CAPITALONE.COM Jul 14 2011 23:23:00      CAPITAL ONE,   P.O BOX 650007,
                Dallas TX 75265-0007
 4312161      +EDI: CAPITALONE.COM Jul 14 2011 23:23:00      CAPITAL ONE,   P.O. BOX 30281,
                Salt Lake City UT 84130-0281
 4312168       EDI: IRS.COM Jul 14 2011 23:23:00      I R S,   P O BOX 145566,   Cincinnati OH 45250
 4322301       EDI: RECOVERYCORP.COM Jul 14 2011 23:23:00      Recovery Management Systems Corporation,
                25 S.E. 2nd Avenue, Suite 1120,   Miami, FL 33131-1605
 4312176       EDI: AFNIVZCOMBINED.COM Jul 14 2011 23:23:00      VERIZON,   P.O. BOX 165018,   Columbus OH 43216
 4312177      +EDI: PHINRJMA.COM Jul 14 2011 23:23:00      WACHOVIA BANK,   C/O RJM ACQUISITIONS,
                575 UNDERHILL BLVD STE 224,   Syosset NY 11791-3416
                                                                                              TOTAL: 6

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr*             +Recovery Management Systems Corporation,   25 S.E. 2nd Avenue,   Suite 1120,
                   Miami, FL 33131-1605
 4312179*        +WILLIAMSON MEDICAL CENTER,   PO BOX 12101,   Trenton NJ 08650-2101
                                                                                                                     TOTALS: 0, * 2, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 16, 2011                                       Signature:



             Case 3:11-bk-03383 Doc 13 Filed 07/16/11 Entered 07/17/11 00:06:02                                            Desc
                               Imaged Certificate of Service Page 1 of 3
Form B18i (rev 04/09)


                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   Case No. 3:11−bk−03383
                                                     Chapter 7

    In re:

       CORY GREGORY PEER
       2846 WINDY WAY
       Thompsons Station, TN 37179
       Social Security No.:
       xxx−xx−2107



                                        DISCHARGE OF DEBTOR

    It appearing that the debtor is entitled to a discharge, IT IS ORDERED that the debtor is granted a discharge
    under 11 U.S.C § 727.



                                                           BY THE COURT

    Dated: 7/14/11                                         /s/ Marian F Harrison
                                                           United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                         Imaged Certificate of Service Page 2 of 3
B18 (Official Form 18)(12/07)


                                      EXPLANATION OF BANKRUPTCY DISCHARGE
                                               IN A CHAPTER 7 CASE
     This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it does not determine how
much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited
      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a creditor is not permitted
to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages or other property, or to take any other action to
collect a discharged debt from the debtor. [In a case involving community property: There are also special rules that protect certain
community property owned by the debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can
be required to pay damages and attorney's fees to the debtor.

        However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the debtor's property
after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a debtor may voluntarily pay any debt that has
been discharged.

Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not all, types of debts
are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun under a different chapter of the
Bankruptcy Code and converted to chapter 7, the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

       Some of the common types of debts which are not eliminated by a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts incurred to pay nondischargeable taxes;

       c. Debts that are domestic support obligations;

       d. Debts for most student loans;

       e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft while intoxicated;

       g. Some debts which were not properly listed by the debtor;

       h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not discharged;

       i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in compliance with the
          Bankruptcy Code requirements for reaffirmation of debts; and

       j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings Plan for federal
          employees for certain types of loans from these plans.


       This information is only a general summary of the bankruptcy discharge. There are exceptions to these general rules. Because
the law is complicated, you may want to consult an attorney to determine the exact effect of the discharge in this case.




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